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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                   *
UNITED STATES OF AMERICA
                                                   *
               v.                                                   CCB-20-0353
                                                   *
FRANK WILLIAM PERRY
                                                   *

                          MOTION FOR DETENTION HEARING

       Mr. Frank William Perry, by and through his attorneys, Brendan Hurson and Desiree

Lassiter, Assistant Federal Public Defenders, respectfully moves this Honorable Court for a

detention hearing pursuant to 18 U.S.C. § 3142. In support of this motion, he states the following:

1. On October 9, 2020, Mr. Frank William Perry had an initial appearance in court on a single

   count, criminal complaint alleging that he violated 18 U.S.C. § 922(g)(1). See ECF No. 1.

   Specifically, the prosecution alleged that Mr. Perry illegally possessed a firearm despite having

   a felony conviction and being a prohibited person.

2. At his initial appearance, Mr. Perry consented to detention, reserving his right to seek a

   detention hearing at a later date. ECF No. 6.

3. Mr. Perry is detained at the Chesapeake Detention Facility, (CDF), and has been detained at

   CDF since his initial appearance.

4. On October 15, 2020, the prosecution filed an indictment against Mr. Perry. The single count

   indictment mirrored the charge set forth in the criminal complaint, charging Mr. Perry with

   possession of a weapon by a prohibited person. See ECF No. 9. No additional charges were



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    added or filed against Mr. Perry. Id. Thus, the single charge set forth in the indictment stems

    from the same conduct alleged in the complaint.

5. Mr. Perry has not previously requested a detention hearing, nor has he exercised his right to

    have a detention hearing.

6. Mr. Perry now requests a detention hearing pursuant to 18 U.S.C. § 3142.

        WHEREFORE, Mr. Perry respectfully requests that the Court schedule a detention hearing

in this matter.



                                      Respectfully submitted,

                                      JAMES WYDA
                                      Federal Public Defender for the District of Maryland

                                             /s/
                                      _____________________________________________
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